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                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                               OXFORD DIVISION

ANGELA ANDERSON,                                                                     PLAINTIFF
personally and on behalf of the wrongful death
beneficiaries of Princess Anderson, deceased

V.                                                                  NO. 3:12-CV-92-DMB-SAA

MARSHALL COUNTY, MISSISSIPPI, AND
BAPTIST MEMORIAL HOSPITAL – DESOTO                                               DEFENDANTS


                         MEMORANDUM OPINION AND ORDER

        Plaintiff Angela Anderson filed this wrongful death lawsuit on behalf of herself and her

deceased 22-year-old mentally ill daughter, Princess Anderson, for constitutional violations

Princess Anderson allegedly suffered while detained at the Marshall County Jail and for

inadequate medical treatment she allegedly received while hospitalized at Baptist Memorial

Hospital in Desoto County, Mississippi. Defendants Marshall County, Mississippi, and Baptist

Memorial Hospital–Desoto (“Baptist DeSoto”) separately move for summary judgment and

request that they be dismissed from this case. Baptist DeSoto, joined by Marshall County, also

moves for transfer of the trial location from Greenville to Oxford in the event summary judgment

is denied. Plaintiff and Baptist DeSoto move to strike certain opinion testimony of Dr. Thomas

Fowlkes, an expert witness for Marshall County. In addition, the parties have filed several

motions in limine regarding the admissibility of certain evidence at trial. For the reasons below,

the Court finds that Plaintiff fails to establish a genuine issue of material fact as to whether

Marshall County was deliberately indifferent to the decedent’s serious medical needs. Therefore,

summary judgment is granted in favor of Marshall County. Having dismissed all federal claims

in this matter, the Court declines to exercise supplemental jurisdiction over Plaintiff’s state law
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claims against Baptist DeSoto and dismisses those claims without prejudice. The motions to

transfer, motions to strike, and motions in limine are denied as moot.

                                                 I

       On February 7, 2011, at approximately 10:42 a.m., Princess Anderson went to the

emergency room at Baptist Memorial Hospital in Collierville, Tennessee, complaining of nausea.

Med. Records I [112-1] at 1-5, 23. An ultrasound and other tests were performed on Anderson,

and it was determined that she was pregnant. Id. at 2, 11-12. Based on the test results, doctors

could not rule out a possible ectopic pregnancy. Id. Anderson refused additional testing and

recommended treatment before checking out of the hospital. Id. at 20.

       Later that day, at approximately 10:25 p.m., Anderson was taken by ambulance to the

emergency room of Baptist DeSoto in Desoto County, Mississippi, complaining of

hyperventilation and opioid abuse. Med. Records II [112-2] at 1; Compl. [1] at 3. According to

her medical records, Anderson told staff that she smoked marijuana and drank cough medicine

containing codeine after she left the Collierville hospital earlier that day. Med. Records II [112-

2] at 4, 10. Plaintiff admits that Anderson told her she “had smoked a blunt and took a swallow

of syrup.” Pl.’s Dep. [112-5] at 21.

       One of the nurses who examined Anderson at Baptist DeSoto that night described her

demeanor as anxious but alert and that Anderson answered questions appropriately. Nixon Dep.

[112-3] at 6. According to the same nurse, Anderson became agitated whenever her fiancé was

in the room with her and, as such, medical staff placed soft restraints on Anderson and put a

sitter in the room with her so that she would not be left alone. Id. at 12-14. Anderson remained

at the hospital overnight. During her hospitalization, medical staff reviewed her records from the

Collierville hospital, performed testing on her, and determined that she suffered from acute



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psychosis, intrauterine pregnancy, and a reaction to drug usage with an underlying psychiatric

disorder. Med. Records II [112-2] at 5, 10. A psychiatric evaluation was performed, and

medication was prescribed for her treatment. Id. at 8; Nixon Dep. [112-3] at 15, 23. When

Anderson refused voluntary admission into a psychiatric facility,1 plans were made to reevaluate

her for involuntary psychiatric treatment. Med. Records II [112-2] at 10.

        On February 8, 2011, at approximately 9:00 a.m., Plaintiff came to the hospital to check

on Anderson. Pl.’s Dep. [112-5] at 14, 26; Faulkner Dep. [112-4] at 25-27. Anderson allegedly

had been combative with hospital staff but calmed down while Plaintiff was present. Pl.’s Dep.

[112-5] at 14, 26.

        Also on February 8, 2011, the Chancery Court of Desoto County, Mississippi, issued a

writ to the Sheriff of Desoto County to take custody of Anderson for mental examination. Med

Records II [112-2] at 25-26. An order was also entered transferring the case to the Chancery

Court of Marshall County. Id. at 22. Anderson was medically cleared from the hospital, and

taken into custody by Desoto County law enforcement at approximately 11:45 a.m., who then

transported her to the Marshall County Jail. Id. at 31; Doc. [112-7] at 1; Faulkner Dep. [112-4]

at 20-23, 31; Harris Dep. [112-10] at 11. The Marshall County Sheriff’s Office took custody of

Anderson upon her arrival at the jail.2

        On February 9, 2011, the Chancery Court of Marshall County, Mississippi, issued a writ

to the Sheriff of Marshall County to take custody of Anderson because she was “mentally ill and




1
  Anderson’s medical records dated February 8, 2011, however, indicate that she agreed to go to a crisis center for
inpatient treatment. Med. Records II [112-2] at 36.
2
  Based on the Marshall County Sheriff’s Department Booking Report, Anderson was arrested by Desoto County
law enforcement at the hospital and taken to the Marshall County Jail on February 8, 2011. Doc. [112-7] at 1.
Bobby Harris, the Jail Administrator, testified by deposition that Marshall County accepted and took control of
Anderson at approximately 1:03 p.m. that day. Harris Dep. [112-10] at 11.

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in need of mental treatment.” 3 Doc. [112-6] at 10, 14. At all relevant times, Kenny Dickerson

was the Sheriff of Marshall County. Compl. [1] at 1. The Chancery Court set a hearing and

appointed an attorney to represent Anderson in the civil commitment proceedings. See Doc.

[112-6] at 16.

             When Anderson arrived at the Marshall County Jail, she was booked and placed in a cell

by herself. Harris Dep. [112-10] at 14, 20. According to the jailer who completed the booking

process, Anderson was not “really talking” when she came in.4 Doc. [112-8] at 19. The jailer

also claimed that Anderson’s medical records were sent to the Marshall County Jail but were not

opened because non-medical personnel were prohibited from opening medical records. Id. at 20.

While Anderson was housed at the jail, officers periodically checked on her.5 According to the

Marshall County Jail Administrator, it was common for Anderson to “go out and lay on the

floor” during her detention. Harris Dep. [112-10] at 20.

             Marshall County Jail officers scheduled an initial prescreening psychological evaluation

for Anderson. Doc. [112-8] at 42-43. On February 9, 2011, a mental health counselor came to

the jail and conducted the evaluation on Anderson. Shelton Dep. [112-9] at 3-5. The counselor

recommended that Anderson be examined for commitment and hospitalized for psychosis. Id. at

3
 On February 9, 2011, Plaintiff visited Anderson at Baptist DeSoto. That day, Plaintiff completed an affidavit and
application for commitment of Anderson. Doc. [112-6] at 21-22. In the affidavit, Plaintiff stated that:
             [Anderson] keep repeating every sentence she say [sic] over [and] over. She tells everyone she is
             real high, lays on ground outside and says she’s dieing [sic] and she don’t put her words together
             in a sentence correctly anymore.
Id. at 21.
4
 The booking officer testified by deposition that, upon arrival, Anderson briefly talked to her about her hair and
began “singing and hollering and talking to herself.” See Doc. [112-8] at 27-29.
5
  According to the Marshall County Jail Administrator, mental patients/detainees are checked on more frequently
than other inmates, approximately every 30 to 45 minutes. Harris Dep. [112-10] at 23, 31. In the case of a mental
detainee who is suicidal, officers check on them more frequently, approximately every 15 minutes. Id. at 28. It is
not clear from the record that officers checked on Anderson as frequently as required by the jail policy; however,
based on the Marshall County Jailer Log and testimony from jail officers, Anderson was checked on throughout her
detention. See Jailer Log [112-12]; Harris Dep. [112-10] at 56-57; Rahman Dep. [112-13] at 3-5; S. Faulkner Dep.
[112-14] at 13-23; Doc. [112-8] at 36, 43-50.

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8. According to the counselor, the Marshall County Jail was not given a copy of her report on

Anderson. Id. at 5.

        Also on February 9, 2011, Plaintiff visited Anderson in jail. Plaintiff claims she found

Anderson sitting on a cart partially clothed with trash scattered on her cell floor. Pl.’s Dep. [112-

5] at 34-38. In contrast, an officer at the jail claims Anderson was lying naked on the floor of her

cell at that time. Doc. [112-8] at 38-39. After Plaintiff arrived, Anderson was cleaned, dressed,

and locked in her cell. Id.

        On February 10, 2011, the jail officer again found Anderson lying naked on the floor of

her cell. Id. at 43, 48. Later that day, the jailer saw Anderson standing naked by her cell

window. Id. at 50-51. When the jailer tried to talk to her, Anderson did not respond. Id. at 50.

At an unspecified time, Anderson was given a blanket and apron.6 Id. at 57-58. Plaintiff called

to check on Anderson that day but did not come to the jail due to inclement weather conditions.

Pl.’s Dep. [112-5] at 40-44.

        On February 11, 2011, the Chancery Court of Marshall County, Mississippi, ordered that

the Marshall County Sheriff transport Anderson to Alliance Health Care for examination related

to her pregnancy.7        Med. Records I [112-1] at 4.             That same day, Anderson was found

unconscious in her cell at the Marshall County Jail. Doc. [112-8] at 52-54. Plaintiff claims she

saw Anderson lying on the floor of her cell naked in two inches of water and human waste, and

blood was smeared on the walls of her cell. Pl.’s Dep. [112-5] at 51-52, 54-55. Marshall County

Jail officers called paramedics, and Anderson was taken to Alliance Hospital. Doc. [112-8] at

54-55. She was later transported to Baptist Memorial Hospital Union County, where she stayed

6
 A jailer who regularly checked on Anderson claims she gave Anderson a blanket and apron on the second or third
day she was detained at the Marshall County Jail. Doc. [112-8] at 58.
7
 The order was entered at Plaintiff’s request. Plaintiff advised the chancery court that Anderson needed to go to a
hospital for further testing. See Pl.’s Dep. [112-5] at 48.

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from February 11 2011, to February 14, 2011. Mangle Dep. [145-7] at 3, 7. She was then

transferred to Baptist DeSoto,8 where she remained until her death on March 15, 2011. Id. at 7.

Anderson’s autopsy report reflects that she died from “multisystem organ failure of uncertain

etiology.” Doc. [112-17] at 5.

                                                        II

           On October 15, 2012, Plaintiff filed the instant action against Marshall County, Sheriff

Kenny Dickerson, and Baptist DeSoto, for damages arising from the death of Princess Anderson.

See Compl. [1]. In the complaint, Plaintiff asserts claims under 42 U.S.C. § 1983 against

Marshall County and Sheriff Kenny Dickerson for deliberate indifference to Anderson’s serious

medical needs and for failure to provide reasonable medical care. Id. at 5-7. Plaintiff asserts

state law claims against Baptist DeSoto for negligent medical treatment of Anderson. Id. at 7-8.

By order dated April 24, 2013, Sheriff Kenny Dickerson was dismissed from the case.9

           On March 14, 2014, Marshall County filed a motion for summary judgment on grounds

that Plaintiff cannot prove subjective deliberate indifference or show that an unconstitutional

policy of Marshall County was the moving force behind the alleged constitutional deprivations.

Mot. [112]. The same day, Baptist DeSoto filed a motion for partial summary judgment on

grounds that Plaintiff failed to state a viable claim against it and requested that the Court decline

jurisdiction over the negligence claims in the event that summary judgment is granted to

Marshall County. Mot. [108]. On April 4, 2014, Baptist DeSoto filed a motion for summary

judgment renewing its claim for statutory immunity on the medical treatment of a patient

undergoing involuntary commitment proceedings. Mot. [128].

8
  Anderson’s diagnoses at the time were acute renal failure, hypernatremia, rhabdomyolosis, metabolic
encephalopathy, acute liver injury, acute kidney injury, hypothermia, and staph infection. Compl. [1] at 5; Baptist
DeSoto Answer [7] at 4.
9
    Dismissal was granted on Sheriff Dickerson’s motion for summary judgment based on qualified immunity.

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        In addition to its dispositive motion, Baptist DeSoto moved for transfer of trial location

from Greenville to Oxford. Mot. [147]. Marshall County filed a joinder in support of the motion

to transfer trial location.    Doc. [155].     Also before the Court are Plaintiff’s and Marshall

County’s separate motions to strike the expert testimony of Dr. Thomas Fowlkes from trial.

Mot. [124][126]. All motions have been fully briefed and are ripe for resolution. Because the

claims against Marshall County serve as the basis of federal jurisdiction in this case, the Court

will first consider Marshall County’s motion for summary judgment.10

                                                   III

        Under Rule 56(a) of the Federal Rules of Civil Procedure, summary judgment should be

granted when the evidence in a case shows that there is no genuine issue of any material fact and

the moving party is entitled to judgment as a matter of law. Entry of summary judgment is

appropriate, “after adequate time for discovery and upon motion, against a party who fails to

make a showing sufficient to establish the existence of an element essential to that party’s case,

and on which that party will bear the burden of proof at trial.” Celotex Corp. v. Catrett, 477 U.S.

317, 322 (1986). When evaluating whether summary judgment is appropriate, a district court

reviews all well pleaded facts in the light most favorable to the nonmoving party. Pratt v. City of

Houston, 247 F.3d 601, 606 (5th Cir. 2001). Factual controversies are to be resolved in favor of

the nonmoving party only when “both parties have submitted evidence of contradictory facts.”

Little v. Liquid Air Corp., 37 F.3d 1069, 1075 (5th Cir. 1994).

        The party moving for summary judgment must inform “the district court of the basis for

its motion, and identify[] those portions of [the record] which it believes demonstrate the absence

of a material fact.” Catrett, 477 U.S. at 323. The nonmoving party must “go beyond the

10
  Summary judgment can be granted without consideration of Dr. Fowlkes’ testimony and, for this reason, the
Court will not address Plaintiff’s and Baptist DeSoto’s motions to strike.

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pleadings” and “designate ‘specific facts showing that there is a genuine issue for trial.’” Id. at

324 (citations omitted). The nonmoving party cannot rely on metaphysical doubt, conclusive

allegations, or unsubstantiated assertions but instead must show that there is an actual

controversy warranting trial. Little, 37 F.3d at 1075 (internal quotation marks and citations

omitted). In the absence of proof, the district court should not assume that the nonmoving party

could have proved the necessary facts. Paz v. Brush Engineered Materials, Inc., 555 F.3d 383,

391 (5th Cir. 2009). “A complete failure of proof on an essential element renders all other facts

immaterial because there is no longer a genuine issue of material fact.”           Washington v.

Armstrong World Indus., 839 F.2d 1121, 1122 (5th Cir. 1988).

                                                IV

       The Due Process Clause of the Fourteenth Amendment confers pretrial detainees a right

to medical care and protection from harm during their confinement. Brumfield v. Hollins, 551

F.3d 322, 327 (5th Cir. 2008) (citing Hare v. City of Corinth, 74 F.3d 633, 650 (5th Cir. 1996));

Thompson v. Upshur Cnty., 245 F.3d 447, 457 (5th Cir. 2001) (citations omitted).              This

constitutional right means that pretrial detainees must not have “their serious medical needs met

with deliberate indifference … [by] confining officials.” Thompson, 245 F.3d at 457 (citations

omitted). “A serious medical need may exist for psychological or psychiatric treatment, just as it

may exist for physical ills.” Partridge v. Two Unknown Police Officers, 791 F.2d 1182, 1187

(5th Cir. 1986). Deliberate indifference, in this context, requires the confining official to have

“subjective knowledge of a substantial risk of serious harm to a pretrial detainee” and to respond

with “deliberate indifference to that risk.” Hare, 74 F.3d at 650.

       Similar to “pretrial detainees, persons detained due to mental illness are shielded by the

Due Process Clause because they are confined though not convicted of a crime.” Boston v.



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Lafayette Cnty., 743 F. Supp. 462, 473-74 (N.D. Miss. 1990). Thus, “persons temporarily

detained pending civil commitment proceedings are entitled to the same reasonable medical care

provided [to] pretrial detainees.” Id. at 474.

                                                         A

        In the complaint, Plaintiff asserts that Marshall County acted with deliberate indifference

to Princess Anderson’s serious medical needs and failed to provide her with reasonable medical

care while detained at the Marshall County Jail awaiting involuntary commitment proceedings.

Marshall County argues that it should be granted summary judgment because Plaintiff cannot

prove that an unconstitutional county policy was the moving force behind the alleged violations

of the decedent’s rights.         Plaintiff argues in response that, despite having a policy which

provided for medical care, Marshall County failed to have an available physician or registered

nurse at the jail11 and failed to provide medical training to jail officers. For Plaintiff to survive

summary judgment, she must submit sufficient evidence to raise a fact issue on her claims. See

McClendon v. City of Columbia, 305 F.3d 314, 323 (5th Cir. 2002).

        With respect to addressing medical issues of inmates, the Marshall County Jail policy and

procedure manual states in relevant part:

        Intake and Booking of Inmates
        …

        2.5      IF THE INMATE IS VISUALLY INJURED OR OBVIOUSLY ILL,
                 as determined by medical observation or other available information, the
                 Jailer shall refuse the admission of the inmate until the arresting officer
                 takes the inmate to a physician or hospital for examination. If the inmate



11
  Plaintiff has not presented a basis for § 1983 liability to the extent she argues that Marshall County violated its
own policy by not having an available physician or registered nurse on-site. See McCarthy v. Waddell, No. 3:13-cv-
924, 2014 WL 1571678, at *3 (S.D. Miss. Apr. 17, 2014) (finding that breach of county policy fails to establish
constitutional violation under § 1983) (citing Harris v. Payne, 254 F. App’x 410, 416-17 (5th Cir. 2007)); Fraire v.
City of Arlington, 957 F.2d 1268, 1276 (5th Cir. 1992) (“even a negligent departure from established police
procedure does not necessarily signal violation of constitutional protections”).

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                 is examined by a physician and the physician, in writing, approves his/her
                 admission to the facility, the Jailer shall admit the inmate.
         …

         Medical Procedures

         1.0     POLICY – In an effort to maintain the health of inmates and for the
                 protection of the Jailers, the Facility shall provide necessary medical care.

         2.0     PROCEDURE – Receiving medical screening shall be performed on
                 every inmate admitted to the Detention Facility. … Any medical problems
                 discovered during the receiving screening shall be referred immediately to
                 the Chief Deputy and/or Jail Administrator.
         …

         2.2     Emergency medical and dental care shall be handled as follows:

                 A.     When a medical emergency arises, the Jailer will notify the Jail
                 Administrator and/or Chief Deputy. The Jailer on the scene of the medical
                 emergency will begin administering first-aid, provided he/she has received
                 the necessary training. The Jailer shall notify the dispatcher to call the
                 ambulance, Jail Administrator and Chief Deputy. The responsible
                 physician shall be notified of the emergency and further action shall be
                 taken upon direction of the responsible physician. … All psychiatric
                 emergencies shall be handled in the same manner as medical emergencies.

Marshall County Policy [112-11] at 7-10.

         According to a jailer who worked during the relevant time period, Marshall County Jail

officers also received one day of training on dealing with mentally ill inmates. See Rahman Dep.

[112-13] at 2-3. Officers were required to give more attention to mental detainees and special

needs prisoners such as placing them in a single cell and checking on them frequently. Id. at 3;

S. Faulkner Dep. [112-14] at 6; Harris Dep. [112-10] at 23, 31. Thus, in addition to the policy

and procedure manual, the Marshall County Jail adopted an unwritten policy to give special care

to mentally ill inmates. 12




12
   An official policy can be valid whether written or verbal. See Talib v. Gilley, 138 F.3d 211, 215 (5th Cir. 1998)
(“the validity of prison policies is not dependent on whether they are written or verbal. A policy is a policy…”).

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                                                 B

       A plaintiff seeking to “establish municipal liability under § 1983 … must show the

deprivation of a federally protected right caused by action taken ‘pursuant to an official

municipal policy.’” Valle v. City of Houston, 613 F.3d 536, 541 (5th Cir. 2010) (quoting Monell

v. Dep’t of Social Servs., 436 U.S. 658, 691 (1978)). “[T]he inadequacy of police training may

serve as the basis for § 1983 liability only where the failure to train amounts to deliberate

indifference to the rights of persons with whom the police come into contact.” City of Canton v.

Harris, 489 U.S. 378, 388 (1989) (footnote omitted).       In such an instance, failure to provide

proper training may represent a municipal policy for which it may be held liable. See id. at 390

(stating that failure to provide proper training may represent official policy where “the need for

more or different training is so obvious, and the inadequacy so likely to result in the violation of

constitutional rights, that the policymakers … can reasonably be said to have been deliberately

indifferent to the need”).

       The underlying constitutional violation on which Plaintiff bases her failure to train claim

is deliberate indifference to Anderson’s serious medical needs. See Whitley v. Hanna, 726 F.3d

631, 648 (5th Cir. 2013) (“All of [plaintiff’s] inadequate supervision, failure to train, and policy,

practice, or custom claims fail without an underlying constitutional violation.”) (citation

omitted). “[T]o succeed on a Monell claim arising from a municipality’s failure to adopt an

adequate training policy, a plaintiff must demonstrate that: ‘(1) [the municipality’s] training

policy procedures were inadequate, (2) [the municipality] was deliberately indifferent in

adopting its training policy, and (3) the inadequate training policy directly caused [the

constitutional violation].’” Kitchen v. Dallas Cnty., 759 F.3d 468, 484 (5th Cir. 2014) (quoting

Sanders-Burns v. City of Plano, 594 F.3d 366, 381 (5th Cir. 2010)).



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         As to the first element, Plaintiff offers testimony from an expert witness to support her

contention that the jail policies and procedures regarding mentally ill inmates were insufficient.

Dr. Richard Sobel testified by deposition that he found the jail policy and compliance therewith13

to be inadequate. Sobel Dep. [145-9] at 2-3. He criticized the policy for not giving specific

instructions on how officers should deal with inmates on suicide watch. Id. at 3. Although Dr.

Sobel acknowledged that jailers had testified to their normal procedure for suicidal inmates, he

discredited the testimony because it was not written in the jail policy. He further found that the

practice of not reviewing an inmate’s medical information was inadequate. Id. at 4. Plaintiff

also notes that the jail did not have a physician on staff despite language in the policy regarding a

“responsible physician.” See Marshall County Policy [112-11] at 10.

         In response, Marshall County argues that the record evidence does not suggest that the

jail policy fails to provide an adequate degree of medical care to inmates. Def.’s Reply [151] at

4. Marshall County asserts that, in addition to the written policy, each jailer received state

certification and was trained in CPR and first aid.                     However, the Marshall County Jail

Administrator testified by deposition that he had not received the necessary training to

administer first aid and that he did not know whether the jailers who worked during the relevant

time had received first aid training. Harris Dep. II [145-5] at 5.

         Considering the written policy and the practice of jailers regarding their training, it is

unclear whether Plaintiff demonstrated that Marshall County’s policy and procedures were

inadequate. However, for summary judgment purposes only, the Court will assume Plaintiff met

the first element of a municipal liability claim premised on the failure to train jail officials.



13
   For purposes of a claim under § 1983, an officer’s violation of departmental policy “is constitutionally irrelevant.”
Pasco v. Knoblauch, 566 F.3d 572, 579 (5th Cir. 2009) (“Violations of non-federal laws cannot form a basis for
liability under § 1983…”) (citations omitted).

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       As to the second element of the municipal liability claim, Plaintiff must establish that

Marshall County was deliberately indifferent in adopting its training procedures. Kitchen, 759

F.3d at 484. “Deliberate indifference is a stringent standard, requiring proof that a municipal

actor disregarded a known or obvious consequence of his action.” Brown v. Bryan Cnty., 219

F.3d 450, 457 (5th Cir. 2000) (internal citations and quotation marks omitted). A plaintiff must

show that “in light of the duties assigned to specific officers or employees the need for more or

different training is so obvious, and the inadequacy so likely to result in the violation of

constitutional rights, that the policymakers … can reasonably be said to have been deliberately

indifferent to the need.” Valle, 613 F.3d at 547 (citation omitted). In “episodic act or omission”

claims, such as those presented in this case, there are two ways a plaintiff may show a

municipal’s deliberate indifference for proper training: (1) pattern of similar violations; and (2)

single-incident liability exception. Kitchen, 759 F.3d at 484. (citations omitted). Under the first

approach, a plaintiff must “demonstrate that a municipality had [n]otice of a pattern of similar

violations, which were fairly similar to what ultimately transpired when the [plaintiff’s] own

constitutional rights were violated.” Id. (internal quotation marks and citations omitted). As for

the second approach, a plaintiff must show applicability of an “exception for single-incident

liability in a narrow range of circumstances where a constitutional violation would result as the

highly predictable consequence of a particular failure to train.” Id. (internal quotation marks and

citations omitted).

       Plaintiff does not offer any evidence of a pattern of similar violations at the Marshall

County Jail, nor does she argue that there was such a pattern. Instead, Plaintiff focuses on

alleged failures of Marshall County Jail officers to contact medical professionals or provide other

forms of medical care for the decedent. “Proof of more than a single instance of the lack of



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training or supervision causing a violation of constitutional rights is normally required before

such lack of training or supervision constitutes deliberate indifference.” Thompson, 245 F.3d at

459 (citing Snyder v. Trepagnier, 142 F.3d 791, 798-99 (5th Cir. 1998)). In general, a plaintiff

must show “at least a pattern of similar violations” and “the inadequacy of training must be so

obvious and obviously likely to result in a constitutional violation.” Thompson, 245 F.3d at 459

(citations omitted). Here, Plaintiff does not argue or submit proof of any other instances where

inadequate training resulted in a violation of a mental detainee or other inmate’s right to medical

care.14 Accordingly, the Court must determine whether the limited exception for single-incident

liability applies such that Marshall County was deliberately indifferent to Anderson’s needs.

         Plaintiff does not specifically raise the single-incident liability exception; however, she

appears to suggest that the facts of this case warrant the applicability of this exception such that

deliberate indifference is established on the part of Marshall County. Under the single incident

exception, “a plaintiff must prove that the highly predictable consequence of a failure to train

would result in the specific injury suffered, and that the failure to train represented the moving

force behind the constitutional violation.” Sanders-Burns, 594 F.3d at 381. “The single incident

exception requires proof of the possibility of recurring situations that present an obvious

potential for violation of constitutional rights and the need for additional or different police

training.” Gabriel v. City of Plano, 202 F.3d 741, 745 (5th Cir. 2000) (citation omitted).

         Plaintiff does not argue or otherwise show that denial of a mental detainee or other

inmate’s right to medical care is the highly predictable consequence of a failure by Marshall

County to train its jail officers. For example, she does not demonstrate a history of constitutional

violations at the Marshall County Jail based on inadequate officer training. See Roberts v. City
14
  “[I]f there have been thousands of opportunities for municipal employees to violate citizens’ constitutional rights,
and yet there have been no previous violations, then the need for training is simply not ‘so obvious.’” Thompson v.
Connick, 578 F.3d 293, 299-300 (5th Cir. 2009), rev’d on other grounds, 131 S. Ct. 1350 (2011).

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of Shreveport, 397 F.3d 287, 293 (5th Cir. 2005) (to prove municipal liability for failure to train,

“mere proof that the injury could have been prevented if the officer had received better or

additional training cannot, without more, support liability”) (citation omitted). It is not clear that

additional training would have prepared jailers to detect the psychological and/or other medical

issues from which Anderson suffered. See Eason v. Frye, 972 F. Supp. 2d 935, 945 (S.D. Miss.

2013) (to impose liability for failure to train, “there must be specific allegations as to how a

particular training program is defective”) (citation omitted).          Marshall County Sheriff’s

Department took custody of Anderson pursuant to a chancery court writ which provided that she

was mentally ill and in need of medical treatment. Plaintiff’s expert, Dr. Sobel, points to

inadequacies in the jail policy regarding inmate booking, review of inmate medical records, and

procedures for suicidal inmates. See Sobel Dep. [145-9]. Yet, Plaintiff does not show that

training on inmate booking or treatment of suicidal inmates would have prevented the alleged

constitutional violation. Further, Plaintiff does not explain what specific training would have

been necessary for the officers in this case. Even if the officers had reviewed Anderson’s

medical records, it is not clear that they would have treated her differently because she did not

have specific discharge instructions from the hospital. See Med. Records II [112-2] at 31, 36.

Thus, Plaintiff fails to show that denial of reasonable medical care was a highly predictable

consequence of Marshall County’s failure to train jailers.

       Assuming Plaintiff was able to prove such was a highly predictable consequence, the

single incident exception still would be inapplicable because Plaintiff does not demonstrate that

Marshall County was deliberately indifferent to Anderson’s serious medical needs. Based on the

record, officers periodically checked on Princess Anderson while she was confined at the

Marshall County Jail. Officers observed Anderson’s pattern of taking off her clothes and lying



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on the floor, but they found this conduct to be consistent with other mentally ill inmates at the

jail. A policy was in place for officials to follow whenever inmates had physical injuries

requiring medical treatment.      While Plaintiff notes that Anderson did not receive medical

treatment throughout her stay at the jail, Marshall County argues that officials made a medical

appointment for Anderson but it was cancelled due to inclement weather conditions.

       Plaintiff also submits deposition testimony from inmates housed at the Marshall County

Jail who interacted with Anderson during her confinement. The inmates testified that they made

several attempts to get jailers to make arrangements for outside medical care for Anderson

because, they contend, she appeared in need of treatment. See Ayers Dep. [145-4]; Bogard Dep.

[145-6]. Even if inmates provided such notice regarding Anderson’s condition, it does not

necessarily follow that jailers disregarded a known risk because, as reflected in the record, they

periodically monitored Anderson. See Rahman Dep. [112-13] at 3; S. Faulkner Dep. [112-14] at

6; Harris Dep. [112-10] at 23, 31. In some instances, jailers even went into Anderson’s cell to

check on her.

       “Deliberate indifference is more than negligence or even gross negligence.” Valle, 613

F.3d at 547. In this case, Plaintiff does not show that the failure to train represented the moving

force behind the alleged constitutional violation. Likewise, she does not produce sufficient

evidence to meet the high standard of showing that deliberate indifference to mentally ill

detainees was an obvious or highly predictable consequence of the failure to provide specialized

medical training to jailers.    See Boston, 743 F. Supp. at 473 (“there is no constitutional

requirement that counties provide their jailers and law enforcement personnel with sophisticated

medical training so that they will detect hidden medical problems”). For these reasons, the Court

finds that the single-incident exception is inapplicable in this case.



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        Because Plaintiff does not show a pattern of similar violations or the applicability of the

single-incident exception, she fails to establish deliberate indifference. Without such a showing,

Marshall County cannot be held liable under § 1983 for failing to train jailers. Summary

judgment is, therefore, appropriate and shall be granted in favor of Marshall County. The

motions to strike and/or otherwise restrict the testimony of Marshall County’s expert witness are

now moot.

                                                  V

        In addition to her § 1983 claims against Marshall County, Plaintiff asserts state law

claims against Baptist DeSoto for alleged negligent medical treatment of Anderson while she

was a patient at the Desoto County hospital. In its motion for partial summary judgment Baptist

DeSoto requests that the Court decline to extend jurisdiction over the state law claims if

summary judgment is granted to Marshall County. Plaintiff argues in response that it would be

more efficient for the case to continue in this Court.

        Title 28 U.S.C. § 1367 governs federal district court jurisdiction over supplemental state

law claims. The statute provides in relevant part:

        [I]n any civil action of which the district courts have original jurisdiction, the
        district courts shall have supplemental jurisdiction over all other claims that are so
        related to claims in the action within such original jurisdiction that they form part
        of the same case or controversy under Article III of the United States
        Constitution.

28 U.S.C. § 1367(a).

        A district court may decline to exercise supplemental jurisdiction over a claim under

subsection (a) if:

        (1) the claim raises a novel or complex issue of State law,
        (2) the claim substantially predominates over the claim or claims over which the
            district court has original jurisdiction,



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       (3) the district court has dismissed all claims over which it has original
           jurisdiction, or
       (4) in exceptional circumstances, there are other compelling reasons for declining
           jurisdiction.

Id. at § 1367(c).

       The factors set forth in § 1367(c) as well as common law factors of judicial economy,

convenience, fairness, and comity guide the Court’s determination of whether to exercise or

decline jurisdiction over supplemental state law claims. See Mendoza v. Murphy, 532 F.3d 342,

346 (5th Cir. 2008) (citing McClelland v. Gronwaldt, 155 F.3d 507, 519 (5th Cir. 1998),

overruled on other grounds by Arana v. Ochsner Health Plan, 338 F.3d 433 (5th Cir. 2003)).

“The general rule is that a court should decline to exercise jurisdiction over remaining state-law

claims when all federal-law claims are eliminated before trial, but this rule is neither mandatory

nor absolute; no single factor is dispositive[.]”     Brookshire Bros. Holding, Inc., v. Dayco

Products, Inc., 554 F.3d 595, 602 (5th Cir. 2009) (citing Batiste v. Island Records Inc., 179 F.3d

217, 227 (5th Cir. 1999)). A district court should not decline jurisdiction “over remaining state

law claims following the dismissal of all federal-law claims and [remand or dismiss] a suit after

investing a significant amount of judicial resources in the litigation[.]”      Brookshire Bros.

Holding, Inc., 554 F.3d at 602 (citations omitted).

       Regarding § 1367(c)’s first factor, Plaintiff’s remaining claims of medical malpractice do

not raise a novel or complex issue of state law. As to the second and third factors, the state law

claims predominate over the claims over which the Court had original jurisdiction because all

federal claims are now dismissed. See Smith v. Amedisys Inc., 298 F.3d 434, 447 (5th Cir. 2002)

(because trial court properly dismissed all federal law claims, “the state law claims now

predominate over the nonexistent federal claims”). With regard to the fourth factor, the Court

finds that there are no exceptional circumstances or compelling reasons to decline jurisdiction of

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the state law claims. Thus, two of the § 1367(c) factors weigh in favor of retaining jurisdiction,

and two weigh in favor of declining jurisdiction.

       The Court now looks to the common law factors of judicial economy, convenience,

fairness, and comity on the issue of whether it should retain or decline jurisdiction of the state

law claims. Convenience is a neutral factor because Plaintiff argues that it would be more

efficient to conclude the case in this Court, whereas Baptist DeSoto argues that it is more

convenient for this matter to proceed in state court considering that the trial is currently set in

Greenville. As to the remaining factors, this case has been pending approximately two years,

though only before the undersigned judge since January 2014. Although discovery is complete,

the case has not required a significant amount of judicial resources. In deciding the § 1983

claims, this Court was not required to spend significant time researching the legal issues

involved in Plaintiff’s state law claims. This case differs from Smith v. Amedisys Incorporated,

where the district judge “devoted many hours to reviewing [parties’] memoranda, the attached

exhibits and the record in [the] case; researching the legal issues involved; and reaching the

decisions” on summary judgment. 298 F.3d at 447. Here, in resolving the federal law issues, the

Court looked to whether Marshall County acted with deliberate indifference to the decedent’s

serious medical needs. In a prior order, the Court dismissed the § 1983 claims against Sheriff

Kenny Dickerson on grounds of qualified immunity. See Order [36]. The Court has not

considered any standards of medical care that might be owed by Baptist DeSoto to the decedent,

nor has it considered whether any state law immunity applies to shield a party from liability for

its involvement in a civil commitment proceeding. The interest of judicial economy, fairness,

and comity would be served best by allowing the appropriate state court to resolve the medical

malpractice and/or negligent treatment claims remaining in this case as that court would be more



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familiar with the applicable state law. As such, the common law factors weigh heavily against

retaining jurisdiction.

        Having carefully considered the § 1367(c) and common law factors, the Court declines to

exercise supplemental jurisdiction over the state law claims. Accordingly, Baptist DeSoto’s

request that the Court decline jurisdiction is granted, and Plaintiff’s remaining claims are

dismissed without prejudice.

                                              VI

        In light of the analysis above, the Court finds that Marshall County’s Motion for

Summary Judgment [112] is GRANTED. The Court further finds that Baptist DeSoto’s Motion for

Partial Summary Judgment [108] is GRANTED IN PART AND DENIED IN PART. The motion is

GRANTED only to the extent it requests that the Court decline supplemental jurisdiction over the

remaining state law claims. In all other respects, the motion is DENIED AS MOOT. All remaining

motions including Plaintiff’s Motion to Strike [124], Plaintiff’s Motions in limine [156][157],

Baptist DeSoto’s Motion to Strike [126], Baptist DeSoto’s Motion to Transfer Trial Location

[147], Baptist DeSoto’s renewed Motion for Summary Judgment [128], Baptist DeSoto’s Motion

in limine [158], and Marshall County’s Motions in limine [122][167] are also DENIED AS MOOT.

        In accordance with Rule 58 of the Federal Rules of Civil Procedure, a separate judgment

will be entered.

        SO ORDERED, this the 24th day of December 2014.

                                                   /s/Debra M. Brown            .
                                                   UNITED STATES DISTRICT JUDGE




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